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                             UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION
                                     www.flmb.uscourts.gov

IN RE:                                                                 Chapter 11 Cases

RED LOBSTER MANAGEMENT LLC,1                                           Case No. 6:24-bk-________
RED LOBSTER RESTAURANTS LLC,                                           Case No. 6:24-bk-________
RLSV, INC.,                                                            Case No. 6:24-bk-________
RED LOBSTER CANADA, INC.                                               Case No. 6:24-bk-________
RED LOBSTER HOSPITALITY LLC                                            Case No. 6:24-bk-________
RL KANSAS LLC                                                          Case No. 6:24-bk-________
RED LOBSTER SOURCING LLC                                               Case No. 6:24-bk-________
RED LOBSTER SUPPLY LLC                                                 Case No. 6:24-bk-________
RL COLUMBIA LLC                                                        Case No. 6:24-bk-________
RL OF FREDERICK, INC.                                                  Case No. 6:24-bk-________
RED LOBSTER OF TEXAS, INC.                                             Case No. 6:24-bk-________
RL MARYLAND, INC.                                                      Case No. 6:24-bk-________
RED LOBSTER OF BEL AIR, INC.                                           Case No. 6:24-bk-________
RL SALISBURY, LLC,                                                     Case No. 6:24-bk-________
RED LOBSTER INTERNATIONAL HOLDINGS LLC,                                Case No. 6:24-bk-________

      Debtors.                                                         (Joint Administration Pending)
_______________________________________/

     DEBTORS’ FOURTH OMNIBUS MOTION FOR ORDER AUTHORIZING
      (A) REJECTION OF UNEXPIRED LEASES OF NON-RESIDENTIAL REAL
 PROPERTY EFFECTIVE AS OF THE REJECTION DATE, (B) ABANDONMENT OF
ANY REMAINING PERSONAL PROPERTY LOCATED AT THE LEASED PREMISES,
       AND (C) FIXING A BAR DATE FOR CLAIMS OF COUNTERPARTIES




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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number are Red Lobster Management LLC (6889); Red Lobster Sourcing LLC (3075); Red Lobster Supply
LLC (9187); RL Kansas LLC (2396); Red Lobster Hospitality LLC (5297); Red Lobster Restaurants LLC (4308); RL
Columbia LLC (7825); RL of Frederick, Inc. (9184); RL Salisbury, LLC (7836); RL Maryland, Inc. (7185); Red
Lobster of Texas, Inc. (1424); Red Lobster of Bel Air, Inc. (2240); RLSV, Inc. (6180); Red Lobster Canada,
Inc. (4569); and Red Lobster International Holdings LLC (4661). The Debtors’ principal offices are located at 450 S.
Orange Avenue, Suite 800, Orlando, FL 32801.
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    THIS MOTION SEEKS TO REJECT CERTAIN UNEXPIRED NON-RESIDENTIAL
    REAL PROPERTY LEASES. PARTIES RECEIVING THIS MOTION SHOULD
    LOCATE THEIR NAMES AND UNEXPIRED NON-RESIDENTIAL REAL
    PROPERTY LEASES IN THE SCHEDULES ATTACHED TO EXHIBIT A OF THIS
    MOTION. THE ATTACHED EXHIBIT “A” LISTS THE NAME OF EACH PARTY
    TO A LEASE ALPHABETICALLY.


        The above-captioned debtors and debtors in possession (collectively, the “Debtors”), by and

through their proposed undersigned counsel, file this fourth omnibus motion (“Motion”), and

pursuant to section 365(a) of Title 11 of the United States Code (the “Bankruptcy Code”) and Rules

6006 and 6007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), hereby

request the entry of an order authorizing, but not directing, the Debtors to (i) reject certain unexpired

leases of non-residential real property (collectively, the “Rejected Leases”) set forth on Exhibit A

effective as of the date the Court grants the relief requested herein (the “Rejection Date”), (ii)

abandon, effective as of the Rejection Date, any personal property of the Debtors, including, but not

limited to, furniture, fixtures, and equipment that remains, as of the Rejection Date, on any of the

premises (collectively, the “Leased Premises”) subject to the Rejected Leases, and (iii) fix a bar date

for claims, if any, of the counterparties to each Rejected Lease (the “Counterparties”). In support of

the Motion, the Debtors rely upon the Declaration of Jonathan Tibus in Support of Debtors’ Chapter

11 Petitions and First Day Relief (the “First Day Declaration”), which was filed on or about the date

hereof, and is incorporated herein by reference, and represent as follows:

                                             Jurisdiction

         1.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

         2.     Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.



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        3.     The statutory bases for the relief requested herein are sections 365(a) and 554 of

the Bankruptcy Code and Bankruptcy Rule 6006 and 6007.

                                            Background

A.     General Background

        4.     On May 19, 2024 (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code.

        5.     The Debtors are operating their businesses and managing their affairs as debtors in

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

        6.     For a detailed description of the Debtors and their operations, the Debtors

respectfully refer the Court and parties in interest to the First Day Declaration.

B.     The Leases

       7.      The Debtors currently operate approximately 570 casual seafood restaurants

primarily located across the United States and Canada with nearly 36,000 employees.

       8.      With the assistance of Keen-Summit Capital Partners LLC (“Keen Summit”), the

Debtors’ real estate advisor, the Debtors’ lease rationalization process has accelerated in recent

weeks in connection with the Debtors’ broader restructuring efforts. Keen Summit has aided in the

Debtors’ review and identification of Leases that are likely to continue to drive losses for the

Debtors and should be rejected. The Debtors’ meticulous, well-considered lease rejection plan is

centered on value maximization.

       9.      In order to manage their business and assets responsibly and economically, the

Debtors seek to reject unexpired leases of nonresidential property, which are a burden on the

Debtors and their estates. To that end, the Debtors have identified the Rejected Leases as leases




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that the Debtors do not anticipate needing in order to operate their business going forward and can

be rejected as of the Rejection Date.

       10.     The Debtors are currently occupying the Leased Premises, but intend to vacate the

Leased Premises on, or prior to, the Rejection Date. The Rejected Leases require the payment of

base monthly rent, applicable sales taxes, and prorated common area and real estate tax expenses

associated with each applicable location. The Debtors have determined, in their business judgment,

to reject the Rejected Leases and abandon any remaining Personal Property (defined below),

effective as of the Rejection Date, so as to avoid the incurrence of continued rental obligations

related to the Rejected Leases or the Leased Premises.

                                         Relief Requested

       11.     By this Motion, the Debtors seek entry of an order, pursuant to section 365 of the

Bankruptcy Code and Bankruptcy Rule 6006, (a) authorizing and approving the Debtors’ rejection

of the Rejected Leases, effective as of the Rejection Date, (b) confirming that any furniture,

fixtures and equipment or other assets remaining at each Leased Premises (collectively, the

“Personal Property”) not removed by the Rejection Date or otherwise within the time agreed upon

by and among the Debtors and the Counterparty of the applicable Leased Premises (unless

extended by agreement among the Debtors and the applicable Counterparty) are deemed

abandoned by the Debtors pursuant to section 554 of the Bankruptcy Code without the applicable

Counterparty incurring liability to any person or entity, and upon such abandonment at the time of

the rejection of the applicable lease for the Leased Premises, the applicable Counterparty shall be

permitted to use or dispose of such abandoned Personal Property remaining at such Leased

Premises without notice or liability to the Debtors or any third person or entity, and (c) fixing a

bar date for claims, if any, of the Counterparties.



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       12.     The Debtors have concluded that the Rejected Leases are not necessary for a sale,

and have determined that continued performance under the Rejected Leases would constitute an

unnecessary drain upon the financial resources of Debtors’ cash (on account of all future rents and

any related expenses for the Rejected Leases that would otherwise accrue). In addition, the Debtors

seek to abandon, effective as of the Rejection Date, any Personal Property that remains on any of

the Leased Premises. The Debtors respectfully submit that this related relief is necessary and

appropriate.

       13.     To the extent notice of the Debtors’ intention to reject the Rejected Leases has not

been previously provided, the filing and service of this Motion shall serve as notice to the

Counterparties of the Debtors’ intention to reject the Rejected Leases listed on Exhibit A.

                                         Basis for Relief

A.     Rejection of the Rejected Leases, Effective as of the Rejection Date, Reflects the
       Debtors’ Sound Business Judgment.

       14.     Section 365(a) of the Bankruptcy Code provides that a trustee or debtor in

possession, “subject to the court’s approval, may … reject any executory contract or unexpired

lease of the debtor.” 11 U.S.C. § 365(a); see also Univ. Med. Ctr. v. Sullivan (In re Univ. Med.

Ctr.), 973 F.2d 1065, 1075 (3d Cir. 1992). “This provision allows a trustee to relieve the

bankruptcy estate of burdensome agreements which have not been completely performed.” Stewart

Title Guar. Co. v. Old Republic Nat’l Title Co., 83 F.3d 735, 741 (5th Cir. 1996) (citing In re

Muerexco Petroleum, Inc., 15 F.3d 60, 62 (5th Cir. 1994)); see also In re TOUSA, Inc., 598 Fed.

App’x 761, 763 n. 3 (11th Cir. March 26, 2015) (unpublished).

       15.     The right of a debtor-in-possession to reject unexpired leases and executory contracts

is fundamental to the bankruptcy process because it supplies a mechanism to eliminate financial

burdens on the bankruptcy estate. See In re Wells, 227 B.R. 553, 564 (Bankr. M.D. Fla. 1998). The

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United States Court of Appeal for the Eleventh Circuit has noted that the decision to reject an

executory contract or unexpired lease is primarily administrative and should be given great deference

by the court, subject only to a review under the “business judgment” rule. See In Re Gardinier, Inc.,

831 F.2d 974, 976, n. 2 (11th Cir. 1987); Colony Beach & Tennis Club, Inc. v. Colony Beach &

Tennis Club Ass’n (In re Colony Beach & Tennis Club Ass'n, Inc.), Case No. 8:09-cv- 535-T-33,

2010 WL 746708, at *8 (M.D. Fla. March 2, 2010) (“[T]he bankruptcy court may not substitute

its own judgment for that of a debtor unless the debtor’s decision is so manifestly unreasonable

that it must be based upon bad faith, whim, or caprice.’”) (citing In re Surfside Resort and Suites,

Inc., 325 B.R. 465, 469 (Bankr. M.D. Fla. 2005) (internal citations omitted); Surfside Resort and

Suites, 325 B.R. at 469; In re Weaver Oil Co., Inc., No. 08-40379-LMK, 2008 WL 8202063, 2008

Bankr. LEXIS 4159, at *4-5 (Bankr. N.D. Fla. Nov. 17, 2008); See In re Summit Land Co., 13

B.R. 310, 315 (Bankr. D. Utah 1981) (absent extraordinary circumstances, court approval of a

debtor’s decision to assume or reject an unexpired lease “should be granted as a matter of course”);

see also NLRB v. Bildisco (In re Bildisco), 682 F.2d 72, 79 (3d Cir. 1982) (“The usual test for

rejection of an executory contract is simply whether rejection would benefit the estate, the

‘business judgment’ test.”); In re Taylor, 913 F.2d 102, 107 (3d Cir. 1990); see also In re Federal

Mogul Global, Inc., 293 B.R. 124, 126 (D. Del. 2003); In re HQ Global Holdings, 290 B.R. 507,

511 (Bankr. D. Del. 2003).

       16.     The “business judgment” standard is not a strict standard; it requires only a showing

that either assumption or rejection of the executory contract or unexpired lease will benefit the

debtor’s estate. See Official Comm. of Subordinated Bondholders v. Integrated Res., Inc. (In re

Integrated Res., Inc.), 147 B.R. 650, 656 (S.D.N.Y. 1992) (quoting Smith v. Van Gorkum, 488

A.2d 858, 872 (Del. 1985)), appeal dismissed, 3 F.3d 49 (2d Cir. 1993). So long as the decision to



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assume or reject is a reasonable exercise of business judgment, the court should approve the

assumption or rejection of an unexpired lease. See also NLRB v. Bildisco and Bildisco, 465 U.S.

513, 523 (1984); Group of Institutional Investors v. Chicago M. St. P. & P. R. R. Co., 318 U.S.

523, 550-51 (1943).

       17.     Rejection of an executory contract or unexpired lease is appropriate where rejection

of the contract or lease would benefit the estate. See Sharon Steel Corp. v. Nat’l Fuel Gas

Distribution Corp. (In re Sharon Steel Corp.), 872 F.2d 36, 40 (3d Cir. 1989). The standard for

rejection is satisfied when a trustee or debtor has made a business determination that rejection will

benefit the estate. See Commercial Fin. Ltd. v. Hawaii Dimensions, Inc. (In re Hawaii Dimensions,

Inc.), 47 B.R. 425, 427 (D. Haw. 1985) (“under the business judgment test, a court should approve

a debtor’s proposed rejection if such rejection will benefit the estate.”).

       18.     The Debtors seek authority, but not direction, to reject the Rejected Leases, in

accordance with principles of sound business judgment and the circumstances of these cases. The

Rejected Leases are, and will continue to be, a burden to the Debtors’ estates. The Debtors will

vacate the Leased Premises on, or prior to, the Rejection Date, as the Rejected Leases no longer

provide any net economic benefit to the Debtors’ estates.

       19.     Additionally, the Debtors have determined, in their reasonable business judgment,

that there is no net benefit that can be realized from an attempt to market and assign the Rejected

Leases. As a result, the Debtors have determined that the cost to the Debtors of continuing to

occupy the Leased Premises under the Rejected Leases, and of performing the Debtors’ obligations

under the Rejected Leases and incurring unnecessary administrative expenses, is burdensome, and

that rejection of the Rejected Leases is, thus, in the best interests of the Debtors’ estates and their




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creditors. For all of the above reasons, the Debtors submit that rejection of the Rejected Leases is

in the best interests of the Debtors’ estates and their creditors, and other parties in interest.

B.      Authorizing the Debtors to Abandon any Personal Property Remaining at the Leased
        Premises as of the Rejection Date is Appropriate.

        20.     In the event that any Personal Property remains on any of the Leased Premises as

of the Rejection Date, the Debtors request authority to abandon such Personal Property, pursuant

to section 554(a) of the Bankruptcy Code, with such abandonment being effective as of the

Rejection Date.

        21.     Section 554(a) of the Bankruptcy Code provides that “[a]fter notice and a hearing,

the [debtor] may abandon any property of the estate that is burdensome to the estate or that is of

inconsequential value and benefit to the estate.” 11 U.S.C. § 554(a). The right to abandon is

virtually unfettered, unless abandonment of the property will contravene laws designed to protect

public health and safety and the property poses an imminent threat to the public’s welfare. See In

re Midlantic Nat’l Bank, 474 U.S. 494, 501 (1986). Neither of these limitations is relevant in this

case.

        22.     The Debtors submit that any abandoned Personal Property is of inconsequential

value or burdensome to the Debtors’ estates to remove. Among other things, the Debtors believe

that the cost of retrieving, marketing, and reselling the abandoned Personal Property outweighs

any recovery that the Debtors and their estates could reasonably hope to attain for such Personal

Property. For the avoidance of doubt, the Debtors will not abandon any Personal Property

containing any personal identifying information (which means information which alone or in

conjunction with other information identifies an individual, including, but not limited to, an

individual’s name, social security number, date of birth, government-issued identification number,

account number, and credit or debit card number). As a result, the Debtors have determined, in

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their business judgment, that the abandonment of any such Personal Property, effective as of the

Rejection Date, is a sound exercise of their business judgment, and is necessary, prudent, and in

the best interests of the Debtors, their estates, and creditors.

C.      Claims Bar Date

        23.     As set forth above, the Counterparties may seek to assert claims in connection with

the Rejected Leases or the rejection or termination of the Rejected Leases.

        24.     Rule 3003(c)(3) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”) provides: “[t]he court shall fix . . . the time within which proofs of claim may be filed.”

Bankruptcy Rule 2002(a)(7) requires at least twenty-one days’ notice by mail of the time fixed for

filing proofs of claim and interest pursuant to Bankruptcy Rule 3003(c)(3).

        25.     The Debtors further request by this Motion that the Court fix the claims bar date

with respect to the Rejected Leases to be the later of (i) the claims bar date to be established by the

Court for all holders of general unsecured claims or (ii) thirty (30) days after the Rejection Date,

failing which such claim or claims by the Counterparties shall be forever barred.

        26.     The Debtors reserve any and all rights to object to any rejection damage claims or

other claims filed by any Counterparty.

                                        Reservation of Rights

        27.     Nothing contained herein should be construed as a waiver of any of the Debtors’

rights, defenses, or counterclaims with respect to any of the Rejected Leases. Nor does anything

contained herein constitute an acknowledgement that a particular Rejected Lease constitutes an

unexpired lease of nonresidential real property under section 365 of the Bankruptcy Code, and has

not otherwise expired by its own terms or upon agreement of the parties as of the date hereof.

Further, nothing contained herein is intended or shall be construed as: (i) an admission as to the



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validity, amount or priority of any claim against the Debtors; (ii) a waiver of the Debtors’ rights

to dispute any claim; (iii) a promise or requirement to pay any claim; (iv) a waiver of any claim or

cause of action of the Debtors that exists against any entity; (v) a ratification or assumption of any

agreement, contract or lease under section 365 of the Bankruptcy Code; (vi) a waiver of limitation

of the Debtors’ rights under the Bankruptcy Code, any other applicable law or any agreement; or

(vii) an admission or concession by the Debtors that any lien is valid, and the Debtors expressly

reserve and preserve their rights to contest the extent, validity, or perfection, or seek avoidance of,

any lien.

        WHEREFORE, the Debtors respectfully request that the Court enter an Order in the form

attached hereto as Exhibit B granting the relief requested herein and granting such other and

further relief as is just and proper.

                                        [Intentionally Blank]




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Dated:    May 20, 2024                            Respectfully submitted,

                                                  /s/ Paul Steven Singerman
W. Austin Jowers (pro hac vice pending)           Paul Steven Singerman
Jeffrey R. Dutson (pro hac vice pending)          Florida Bar No. 378860
Sarah Primrose (Bar No. 98742)                    BERGER SINGERMAN LLP
Christopher K. Coleman (pro hac vice pending)     1450 Brickell Avenue, Suite 1900
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KING & SPALDING LLP                               Email: singerman@bergersingerman.com
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         bbean@kslaw.com                          Orlando, FL 32801
         tkim@kslaw.com                           Telephone: (407) 749-7900
                                                  Email: nvilmos@bergersingerman.com
– and –

Michael Fishel (pro hac vice pending)             Filer’s Attestation: Pursuant to Local Rule
KING & SPALDING LLP                               1001-2(g)(3) regarding signatures, Paul
1100 Louisiana, Suite 4100                        Steven Singerman attests that concurrence
Houston, TX 77002                                 in the filing of this paper has been obtained.
Telephone:    (713) 751-3200
Email: mfishel@kslaw.com

                   Proposed Counsel for Debtors and Debtors-in-Possession




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                           Exhibit A

                         Rejected Leases
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Item #             Debtor                              Rejection Counterparty                        Store No.                   Description of Lease


                                       SILVER SPRING SERIES, A SERIES OF OWL'S NEST PROPERTIES,
                                                                  LLC
                                                                                                                                LEASE FOR STORE #496
  1)     RED LOBSTER RESTAURANTS LLC                    4204 PYLES FORD ROAD                         RL1_0496
                                                                                                                    309 ROCKY RUN PARKWAY, TALLEYVILLE, DELAWARE
                                                    ATTN: ARCHITE E. SIMMONS, JR.
                                                    GREENVILLE, DELAWARE 19807



                                                             SPADEA INC
                                                                                                                                 LEASE FOR STORE #61
                                                        C/O NURAN STEHMERS
  2)     RED LOBSTER RESTAURANTS LLC                                                                 RL1_0061          12235 SAINT CHARLES ROCK RD, BRIDGETON,
                                             EXECUTOR OF THE ESTATE OF JOHN D LAGRECO
                                                                                                                                      MISSOURI
                                                 FAIRFIELD, CONNECTICUT 06824‐1755




                                                        SPM ACQUISITION LLC
                                                   C/O ATTN OFFICE COORDINATOR                                                 LEASE FOR STORE #6312
  3)     RED LOBSTER HOSPITALITY LLC                                                                 RL1_6312
                                                         500 SOUTHPARK CTR                                           17227 SOUTHPARK CENTER, STRONGSVILLE, OHIO
                                                   STRONGSVILLE, OHIO 44136‐9320




                                                      SUPERIOR STEEL STUDS INC
                                                                                                                              LEASE FOR STORE #716
                                               C/O SS SMALL MOUTH PARKERSBURG LLC
  4)     RED LOBSTER HOSPITALITY LLC                                                                 RL1_0716        3705 MURDOCK AVENUE, PARKERSBURG, WEST
                                                       2960 WOODBRIDGE AVE
                                                                                                                                    VIRGINIA
                                                  EDISON, NEW JERSEY 08837‐3406



                                                     SWB‐LYNN HOLDINGS LLC
                                                      136 GLENWOOD ROAD
                                                                                                                               LEASE FOR STORE #296
  5)     RED LOBSTER RESTAURANTS LLC                      P.O. BOX 401                               RL1_0296
                                                                                                                    821 LYNNHAVEN PKWY, VIRGINIA BEACH, VIRGINIA
                                                      ATTN: STEVE BIRBACH
                                                GLENWOOD LANDING, NEW YORK 11547




                                                       TAYLOR & MONROE LLC
                                                                                                                               LEASE FOR STORE #6340
  6)     RED LOBSTER HOSPITALITY LLC                 19370 COLLINS AVENUE CU1                        RL1_6340
                                                                                                                     2475 HIGHWAY 27 SOUTH, CLERMONT, FLORIDA
                                                  SUNNY ISLES BEACH, FLORIDA 33160




                                                    TED AND MARIAS PLAZA LLC
                                                                                                                                LEASE FOR STORE #697
  7)     RED LOBSTER RESTAURANTS LLC                   518 S LAURELTREE DR                           RL1_0697
                                                                                                                     4500 CENTRAL AVENUE, HOT SPRINGS, ARKANSAS
                                                  ANAHEIM, CALIFORNIA 92808‐1626




                                             THE PAUL FAMILY TRUST DATED JUNE 19, 1997
                                                         31 VALENCIA ROAD                                                        LEASE FOR STORE #393
  8)     RED LOBSTER RESTAURANTS LLC                                                                 RL1_0393
                                                       ATTN: BISHWENDU PAUL                                          3301 S. COLLEGE AVE., FORT COLLINS, COLORADO
                                                     ORINDA, CALIFORNIA 94563



                                                 THE R&T WEATHERBY FAMILY TRUST
                                        PATRICIA A WEATHERBY TRUSTEE AND MARY KATHERINE
                                                                                                                                 LEASE FOR STORE #6339
  9)     RED LOBSTER RESTAURANTS LLC                          DARIN                                  RL1_6339
                                                                                                                      4415 S. LABURNUM AVE, RICHMOND, VIRGINIA
                                                         39629 N 106TH ST
                                                  SCOTTSDALE, ARIZONA 85262‐3384



                                         THE RAPHAEL FAMILY WOOSTER STREET COMPANY LLC
                                                      C/O GARBRIEL RAPHAEL                                                       LEASE FOR STORE #482
 10)     RED LOBSTER RESTAURANTS LLC                                                                 RL1_0482
                                                    201 OCEAN AVE UNIT 1504P                                         3306 N ELIZABETH STREET, PUEBLO, COLORADO
                                               SANTA MONICA, CALIFORNIA 90402‐1453



                                       THE STEVE HONGDUR LIN AND CAROL YAO LIN REVOCABLE
                                                       TRUST DTD 7/22/94
                                                                                                                               LEASE FOR STORE #383
 11)     RED LOBSTER HOSPITALITY LLC                    360 SWIFT AVENUE                             RL1_0383
                                                                                                                       2040 ABORN ROAD, SAN JOSE, CALIFORNIA
                                                             SUITE 21
                                              SOUTH SAN FRANCISCO, CALIFORNIA 94080




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Item #             Debtor                        Rejection Counterparty                           Store No.                   Description of Lease




                                       THF MAPLEWOOD OUTPARCEL DEVELOPMENT, LLC                                             LEASE FOR STORE #6324
 12)     RED LOBSTER RESTAURANTS LLC        211 NORTH STADIUM BLVD., SUITE 201                    RL1_6324       2381 MAPLEWOOD COMMONS DRIVE, MAPLEWOOD,
                                                COLUMBIA, MISSOURI 65203                                                           MISSOURI




                                                       VERA LLC
                                                                                                                             LEASE FOR STORE #402
 13)     RED LOBSTER RESTAURANTS LLC             7704 MAPLERIDGE DRIVE                            RL1_0402
                                                                                                                  3885 N SHILOH DRIVE, FAYETTEVILLE, ARKANSAS
                                                   PLANO, TEXAS 75024




                                            VEREIT OPERATING PARTNERSHIP LP
                                            DBA ARCP RL OG SALISBURY MD LLC                                                   LEASE FOR STORE #615
 14)     RED LOBSTER RESTAURANTS LLC                                                              RL1_0615
                                                     PO BOX 103127                                                2314 N SALISBURY BLVD, SALISBURY, MARYLAND
                                            PASADENA, CALIFORNIA 91189‐0153




                                            VEREIT OPERATING PARTNERSHIP LP
                                               DBA VEREIT REAL ESTATE LP                                                       LEASE FOR STORE #864
 15)     RED LOBSTER HOSPITALITY LLC                                                              RL1_0864
                                                     PO BOX 103127                                                     2760 S. HIGHWAY 6, HOUSTON, TEXAS
                                            PASADENA, CALIFORNIA 91189‐0153



                                                         VEREIT
                                            C/O REALTY INCOME CORPORATION
                                                                                                                              LEASE FOR STORE #845
 16)     RED LOBSTER HOSPITALITY LLC             11995 EL CAMINO REAL                             RL1_0845
                                                                                                                    2500 S. BEULAH BLVD., FLAGSTAFF, ARIZONA
                                                ATTN: LEGAL DEPARTMENT
                                                   SAN DIEGO, 92130



                                                         VEREIT
                                            C/O REALTY INCOME CORPORATION                                                    LEASE FOR STORE #599
 17)     RED LOBSTER RESTAURANTS LLC             11995 EL CAMINO REAL                             RL1_0599         4115 CHESAPEAKE SQUARE BLVD, CHESAPEAKE,
                                                ATTN: LEGAL DEPARTMENT                                                             VIRGINIA
                                              SAN DIEGO, CALIFORNIA 92130




                                            VILLAGES/ACORN INVESTMENTS, LTD
                                                                                                                            LEASE FOR STORE #6345
 18)     RED LOBSTER HOSPITALITY LLC         940 LAKE SHORE DRIVE, SUITE 200                      RL1_6345
                                                                                                                  3830 WEDGEWOOD LANE, THE VILLAGES, FLORIDA
                                               THE VILLAGES, FLORIDA 32162




                                                   WILD REALTY 3, LLC
                                               C/O WILDENSTEIN & CO., INC.
                                                                                                                              LEASE FOR STORE #386
 19)     RED LOBSTER HOSPITALITY LLC            689 FIFTH AVE., 4TH FLOOR                         RL1_0386
                                                                                                                     1381 S.W. LOOP 410, SAN ANTONIO, TEXAS
                                                ATTN: KARI HOROWITZ, CFO
                                                    NEW YORK, 10022




                                             WORLD CLASS INVESTMENTS, LLC
                                                                                                                            LEASE FOR STORE #6373
 20)     RED LOBSTER HOSPITALITY LLC               9241 SW 140 ST                                 RL1_6373
                                                                                                                       11550 SW 88TH ST, MIAMI, FLORIDA
                                                MIAMI, FLORIDA 33176




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                           Exhibit B

                         Proposed Order
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                               UNITED STATES BANKRUPTCY COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                       ORLANDO DIVISION
                                       www.flmb.uscourts.gov

IN RE:                                                                  Chapter 11 Cases
RED LOBSTER MANAGEMENT LLC, 1                                           Case No. 6:24-bk-________
RED LOBSTER RESTAURANTS LLC,                                            Case No. 6:24-bk-________
RLSV, INC.,                                                             Case No. 6:24-bk-________
RED LOBSTER CANADA, INC.                                                Case No. 6:24-bk-________
RED LOBSTER HOSPITALITY LLC                                             Case No. 6:24-bk-________
RL KANSAS LLC                                                           Case No. 6:24-bk-________
RED LOBSTER SOURCING LLC                                                Case No. 6:24-bk-________
RED LOBSTER SUPPLY LLC                                                  Case No. 6:24-bk-________
RL COLUMBIA LLC                                                         Case No. 6:24-bk-________
RL OF FREDERICK, INC.                                                   Case No. 6:24-bk-________
RED LOBSTER OF TEXAS, INC.                                              Case No. 6:24-bk-________
RL MARYLAND, INC.                                                       Case No. 6:24-bk-________
RED LOBSTER OF BEL AIR, INC.                                            Case No. 6:24-bk-________
RL SALISBURY, LLC,                                                      Case No. 6:24-bk-________
RED LOBSTER INTERNATIONAL HOLDINGS LLC                                  Case No. 6:24-bk-________

      Debtors.                                                          (Joint Administration Pending)
_____________________________________________/

1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number are Red Lobster Management LLC (6889); Red Lobster Sourcing LLC (3075); Red Lobster Supply
    LLC (9187); RL Kansas LLC (2396); Red Lobster Hospitality LLC (5297); Red Lobster Restaurants LLC (4308);
    RL Columbia LLC (7825); RL of Frederick, Inc. (9184); RL Salisbury, LLC (7836); RL Maryland, Inc. (7185);
    Red Lobster of Texas, Inc. (1424); Red Lobster of Bel Air, Inc. (2240); RLSV, Inc. (6180); Red Lobster Canada,
    Inc. (4569); and Red Lobster International Holdings LLC (4661). The Debtors’ principal offices are located at 450
    S. Orange Avenue, Suite 800, Orlando, FL 32801.


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   ORDER GRANTING DEBTOR’S FOURTH OMNIBUS MOTION FOR ORDER
AUTHORIZING (A) REJECTION OF UNEXPIRED LEASES OF NON-RESIDENTIAL
REAL PROPERTY EFFECTIVE AS OF THE REJECTION DATE, (B) ABANDONMENT
   OF ANY REMAINING PERSONAL PROPERTY LOCATED AT THE LEASED
 PREMISES, AND (C) FIXING A BAR DATE FOR CLAIMS OF COUNTERPARTIES

         THIS MATTER came before the Court on [•] [•], 2024 at [•] [a.m./p.m.], in Orlando,

Florida for a hearing (the “Hearing”)2, upon the Debtors’ Fourth Omnibus Motion for Order

Authorizing (A) Rejection of Unexpired Leases of Non-Residential Real Property Effective as of

the Rejection Date, (B) Abandonment of Any Remaining Personal Property Located at the Leased

Premises, and (C) Fixing a Bar Date for Claims of Counterparties [ECF No. [•]] (the “Motion”).

The Motion seeks entry of an order authorizing, but not directing, the above-captioned debtors (the

“Debtors”) to (a) reject the unexpired leases listed on Exhibit “A” to the Motion (the “Rejected

Leases”) and set forth in Exhibit 1 hereto, effective as of the Rejection Date, (b) abandon any

remaining Personal Property located at the Leased Premises, and (c) fix a bar date for filing of

claims of the Counterparties to the Rejected Leases. The Court, having considered the Motion,

finding that (i) the Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334,

(ii) venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409, (iii) this matter is

core pursuant to 28 U.S.C. § 157(b)(2), (iv) the Court may enter a final order consistent with Article

III of the United States Constitution, and (v) notice of the Motion and the Hearing thereon was

sufficient under the circumstances and no other or further notice need be provided; and the Court

having determined that the legal and factual bases set forth in the Motion, the First Day Declaration

and at the Hearing establish just cause for the relief granted herein; and it appearing that the relief

requested in the Motion is in the best interests of the Debtors, their estates, their creditors, and all




2
    Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Motion.


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parties in interest; and upon all of the proceedings had before the Court and after due deliberation

and sufficient cause appearing therefor, it is ORDERED that:

         1.      The Motion is GRANTED.

         2.      The Rejected Leases listed on Exhibit 1 attached hereto are rejected as of [insert

date of hearing] (hereinafter, the “Rejection Date”).

         3.      The Debtors are authorized to abandon any Personal Property remaining at each

Leased Premises pursuant to section 554(a) of the Bankruptcy Court effective as of the Rejection

Date without the applicable Counterparty incurring liability to any person or entity, and upon such

abandonment as of the Rejection Date, the Counterparty is permitted to use or dispose of any

remaining property at such Leased Premises without notice or liability to the Debtors or any third

person or entity. To the extent the Debtors seek to abandon Personal Property that contain any

“personally identifiable information”, as that term is defined in section 101(41A) of the

Bankruptcy Code, or other personal and/or confidential information about the Debtors’ employees

and/or customers, or any other individual (the “Confidential Information”), the Debtors shall

remove the Confidential Information from such property before abandonment.

         4.      Absent further Order of the Court, the Counterparty for each Rejected Lease must

file a claim under section 502 of the Bankruptcy Code or other claims in connection with such

Rejected Lease or the rejection, breach or termination of such Rejected Lease by the later of (i) the

claims bar date [to be] already established by the Court for all holders of general unsecured claims

or (ii) thirty (30) days after the Rejection Date, failing which such claim or claims by the

Counterparty shall be forever barred absent further Order of the Court. The Debtors reserve all

rights to contest any such claim and to contest the characterization of each Rejected Lease, as

executory or not.



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         5.      The Debtors do not waive any claims that the Debtors may have against the

Counterparty to any Rejected Lease, whether or not such claims are related to such Rejected Lease.

         6.      Nothing herein shall prejudice the rights of the Debtors or any party in interest to

argue that any of the Rejected Leases were terminated prior to the Petition Date, or that any claim

for damages arising from the rejection of the Rejected Leases is limited to the remedies available

under any applicable termination provision of such lease, sublease, or contract, as applicable, or

that any such claim is an obligation of a third party, and not that of the Debtors or their estates.

         7.      Notwithstanding the relief granted in this Order and any actions taken pursuant to

such relief, nothing in this Order shall be deemed: (a) an admission as to the amount of, basis for,

or validity of any claim against the Debtors under the Bankruptcy Code, any foreign bankruptcy

or insolvency law, or other applicable nonbankruptcy law; (b) a waiver of the Debtors’ or any other

party in interest’s right to dispute any claim on any grounds; (c) a promise or requirement to pay

any particular claim; (d) an implication or admission that any particular claim is of a type specified

or defined in this Order or the Motion; (e) a request or authorization to assume, adopt, or reject

any agreement, contract, or lease pursuant to section 365 of the Bankruptcy Code; (f) an admission

to the validity, priority, enforceability, or perfection of any lien on, security interest in, or

encumbrance on property of the Debtors’ estates; or (g) a waiver of any claims or causes of action

which may exist against any entity under the Bankruptcy Code or any other applicable law.

         8.      Nothing in the Motion or this Order shall be deemed or construed as an approval of

an assumption of any lease, sublease, or contract pursuant to section 365 of the Bankruptcy Code,

and all such rights are reserved.

         9.      Nothing contained in the Motion or this Order is intended or should be construed

to create an administrative priority claim.



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         10.    The Debtors are authorized to take all actions necessary to effectuate the relief

granted pursuant to this Order in accordance with the Motion.

         11.    This Court shall retain jurisdiction with respect to all matters arising from or

relating to the interpretation, implementation, or enforcement of this Order.

         12.    Notwithstanding Bankruptcy Rule 6004(h), 7062, or 9014, the terms and conditions

of this Order shall be immediately effective and enforceable upon its entry.

                                               ###

(Attorney Paul Steven Singerman is directed to serve a copy of this order on interested parties who
do not receive service by CM/ECF and file a proof of service within three days of entry of the
order.)




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                                         Exhibit 1

                                      Rejected Leases




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Item #             Debtor                              Rejection Counterparty                        Store No.                   Description of Lease


                                       SILVER SPRING SERIES, A SERIES OF OWL'S NEST PROPERTIES,
                                                                  LLC
                                                                                                                                LEASE FOR STORE #496
  1)     RED LOBSTER RESTAURANTS LLC                    4204 PYLES FORD ROAD                         RL1_0496
                                                                                                                    309 ROCKY RUN PARKWAY, TALLEYVILLE, DELAWARE
                                                    ATTN: ARCHITE E. SIMMONS, JR.
                                                    GREENVILLE, DELAWARE 19807



                                                             SPADEA INC
                                                                                                                                 LEASE FOR STORE #61
                                                        C/O NURAN STEHMERS
  2)     RED LOBSTER RESTAURANTS LLC                                                                 RL1_0061          12235 SAINT CHARLES ROCK RD, BRIDGETON,
                                             EXECUTOR OF THE ESTATE OF JOHN D LAGRECO
                                                                                                                                      MISSOURI
                                                 FAIRFIELD, CONNECTICUT 06824‐1755




                                                        SPM ACQUISITION LLC
                                                   C/O ATTN OFFICE COORDINATOR                                                 LEASE FOR STORE #6312
  3)     RED LOBSTER HOSPITALITY LLC                                                                 RL1_6312
                                                         500 SOUTHPARK CTR                                           17227 SOUTHPARK CENTER, STRONGSVILLE, OHIO
                                                   STRONGSVILLE, OHIO 44136‐9320




                                                      SUPERIOR STEEL STUDS INC
                                                                                                                              LEASE FOR STORE #716
                                               C/O SS SMALL MOUTH PARKERSBURG LLC
  4)     RED LOBSTER HOSPITALITY LLC                                                                 RL1_0716        3705 MURDOCK AVENUE, PARKERSBURG, WEST
                                                       2960 WOODBRIDGE AVE
                                                                                                                                    VIRGINIA
                                                  EDISON, NEW JERSEY 08837‐3406



                                                     SWB‐LYNN HOLDINGS LLC
                                                      136 GLENWOOD ROAD
                                                                                                                               LEASE FOR STORE #296
  5)     RED LOBSTER RESTAURANTS LLC                      P.O. BOX 401                               RL1_0296
                                                                                                                    821 LYNNHAVEN PKWY, VIRGINIA BEACH, VIRGINIA
                                                      ATTN: STEVE BIRBACH
                                                GLENWOOD LANDING, NEW YORK 11547




                                                       TAYLOR & MONROE LLC
                                                                                                                               LEASE FOR STORE #6340
  6)     RED LOBSTER HOSPITALITY LLC                 19370 COLLINS AVENUE CU1                        RL1_6340
                                                                                                                     2475 HIGHWAY 27 SOUTH, CLERMONT, FLORIDA
                                                  SUNNY ISLES BEACH, FLORIDA 33160




                                                    TED AND MARIAS PLAZA LLC
                                                                                                                                LEASE FOR STORE #697
  7)     RED LOBSTER RESTAURANTS LLC                   518 S LAURELTREE DR                           RL1_0697
                                                                                                                     4500 CENTRAL AVENUE, HOT SPRINGS, ARKANSAS
                                                  ANAHEIM, CALIFORNIA 92808‐1626




                                             THE PAUL FAMILY TRUST DATED JUNE 19, 1997
                                                         31 VALENCIA ROAD                                                        LEASE FOR STORE #393
  8)     RED LOBSTER RESTAURANTS LLC                                                                 RL1_0393
                                                       ATTN: BISHWENDU PAUL                                          3301 S. COLLEGE AVE., FORT COLLINS, COLORADO
                                                     ORINDA, CALIFORNIA 94563



                                                 THE R&T WEATHERBY FAMILY TRUST
                                        PATRICIA A WEATHERBY TRUSTEE AND MARY KATHERINE
                                                                                                                                 LEASE FOR STORE #6339
  9)     RED LOBSTER RESTAURANTS LLC                          DARIN                                  RL1_6339
                                                                                                                      4415 S. LABURNUM AVE, RICHMOND, VIRGINIA
                                                         39629 N 106TH ST
                                                  SCOTTSDALE, ARIZONA 85262‐3384



                                         THE RAPHAEL FAMILY WOOSTER STREET COMPANY LLC
                                                      C/O GARBRIEL RAPHAEL                                                       LEASE FOR STORE #482
 10)     RED LOBSTER RESTAURANTS LLC                                                                 RL1_0482
                                                    201 OCEAN AVE UNIT 1504P                                         3306 N ELIZABETH STREET, PUEBLO, COLORADO
                                               SANTA MONICA, CALIFORNIA 90402‐1453



                                       THE STEVE HONGDUR LIN AND CAROL YAO LIN REVOCABLE
                                                       TRUST DTD 7/22/94
                                                                                                                               LEASE FOR STORE #383
 11)     RED LOBSTER HOSPITALITY LLC                    360 SWIFT AVENUE                             RL1_0383
                                                                                                                       2040 ABORN ROAD, SAN JOSE, CALIFORNIA
                                                             SUITE 21
                                              SOUTH SAN FRANCISCO, CALIFORNIA 94080




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Item #             Debtor                        Rejection Counterparty                           Store No.                   Description of Lease




                                       THF MAPLEWOOD OUTPARCEL DEVELOPMENT, LLC                                             LEASE FOR STORE #6324
 12)     RED LOBSTER RESTAURANTS LLC        211 NORTH STADIUM BLVD., SUITE 201                    RL1_6324       2381 MAPLEWOOD COMMONS DRIVE, MAPLEWOOD,
                                                COLUMBIA, MISSOURI 65203                                                           MISSOURI




                                                       VERA LLC
                                                                                                                             LEASE FOR STORE #402
 13)     RED LOBSTER RESTAURANTS LLC             7704 MAPLERIDGE DRIVE                            RL1_0402
                                                                                                                  3885 N SHILOH DRIVE, FAYETTEVILLE, ARKANSAS
                                                   PLANO, TEXAS 75024




                                            VEREIT OPERATING PARTNERSHIP LP
                                            DBA ARCP RL OG SALISBURY MD LLC                                                   LEASE FOR STORE #615
 14)     RED LOBSTER RESTAURANTS LLC                                                              RL1_0615
                                                     PO BOX 103127                                                2314 N SALISBURY BLVD, SALISBURY, MARYLAND
                                            PASADENA, CALIFORNIA 91189‐0153




                                            VEREIT OPERATING PARTNERSHIP LP
                                               DBA VEREIT REAL ESTATE LP                                                       LEASE FOR STORE #864
 15)     RED LOBSTER HOSPITALITY LLC                                                              RL1_0864
                                                     PO BOX 103127                                                     2760 S. HIGHWAY 6, HOUSTON, TEXAS
                                            PASADENA, CALIFORNIA 91189‐0153



                                                         VEREIT
                                            C/O REALTY INCOME CORPORATION
                                                                                                                              LEASE FOR STORE #845
 16)     RED LOBSTER HOSPITALITY LLC             11995 EL CAMINO REAL                             RL1_0845
                                                                                                                    2500 S. BEULAH BLVD., FLAGSTAFF, ARIZONA
                                                ATTN: LEGAL DEPARTMENT
                                                   SAN DIEGO, 92130



                                                         VEREIT
                                            C/O REALTY INCOME CORPORATION                                                    LEASE FOR STORE #599
 17)     RED LOBSTER RESTAURANTS LLC             11995 EL CAMINO REAL                             RL1_0599         4115 CHESAPEAKE SQUARE BLVD, CHESAPEAKE,
                                                ATTN: LEGAL DEPARTMENT                                                             VIRGINIA
                                              SAN DIEGO, CALIFORNIA 92130




                                            VILLAGES/ACORN INVESTMENTS, LTD
                                                                                                                            LEASE FOR STORE #6345
 18)     RED LOBSTER HOSPITALITY LLC         940 LAKE SHORE DRIVE, SUITE 200                      RL1_6345
                                                                                                                  3830 WEDGEWOOD LANE, THE VILLAGES, FLORIDA
                                               THE VILLAGES, FLORIDA 32162




                                                   WILD REALTY 3, LLC
                                               C/O WILDENSTEIN & CO., INC.
                                                                                                                              LEASE FOR STORE #386
 19)     RED LOBSTER HOSPITALITY LLC            689 FIFTH AVE., 4TH FLOOR                         RL1_0386
                                                                                                                     1381 S.W. LOOP 410, SAN ANTONIO, TEXAS
                                                ATTN: KARI HOROWITZ, CFO
                                                    NEW YORK, 10022




                                             WORLD CLASS INVESTMENTS, LLC
                                                                                                                            LEASE FOR STORE #6373
 20)     RED LOBSTER HOSPITALITY LLC               9241 SW 140 ST                                 RL1_6373
                                                                                                                       11550 SW 88TH ST, MIAMI, FLORIDA
                                                MIAMI, FLORIDA 33176




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